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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                    Plaintiff,                              4:24CR3018
       vs.

MICHAEL A. NOLTE,                                              ORDER

                    Defendant.


       Defendant has moved to continue the pretrial motion deadline, (Filing No.
21), because Defendant and defense counsel need additional time to consider
the plea offer and to fully review the discovery. The motion to continue is
unopposed. Based on the showing set forth in the motion, the court finds the
motion should be granted. Accordingly,
       IT IS ORDERED:

      1)     Defendant’s motion to continue, (Filing No. 21), is granted.

      2)     Pretrial motions and briefs shall be filed on or before April 26, 2024.

      3)     The ends of justice served by granting the motion to continue
             outweigh the interests of the public and the defendant in a speedy
             trial, and the additional time arising as a result of the granting of the
             motion, the time between today’s date and April 26, 2024 shall be
             deemed excludable time in any computation of time under the
             requirements of the Speedy Trial Act, because although counsel have
             been duly diligent, additional time is needed to adequately prepare
             this case for trial and failing to grant additional time might result in a
             miscarriage of justice. 18 U.S.C. § 3161(h)(1) & (h)(7). Failing to
             timely object to this order as provided under this court’s local rules
             will be deemed a waiver of any right to later claim the time should
             not have been excluded under the Speedy Trial Act.

      Dated this 12th day of March, 2024.

                                              BY THE COURT:
                                              s/ Jacqueline M. DeLuca
                                              United States Magistrate Judge
